                                                        Case 2:19-cr-00213-RSM Document 55 Filed 11/06/20 Page 1 of 9
    AO245B               (Rev. 09/19) Judgment in a Criminal Case
                         Sheet 1
    GILBERT PHILIP JNC
    AO245B                Judgment in a Criminal Case




                                                                 UNITED STATES DISTRICT COURT
                                                                             Western District of Washington
                         UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                    v.
                                                          PHILIP GILBERT                     Case Number:              2:19-CR-00213-RSM-1
                                                                                             USM Number:               49841-086
                                                                                             Carrie J. Fulton-Brown
                                                                                             Defendant’s Attorney
    THE DEFENDANT:
     pleaded guilty to count(s) 1 of the Complaint
     pleaded nolo contendere to count(s)
       which was accepted by the court.
               


     was found guilty on count(s)
       after a plea of not guilty.
    The defendant is adjudicated guilty of these offenses:
    Title & Section                                               Nature of Offense                                                Offense Ended    Count

    18 U.S.C. §§2252(a)(4)(B)                                     Possession of Child Pornography                                  April 25, 2019     1
    and 2252(b)(2).



    The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant to
    the Sentencing Reform Act of 1984.
     The defendant has been found not guilty on count(s)
    Count(s)                                is      are dismissed on the motion of the United States.
    It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
    restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.

                                                                                             Assistant United States Attorney


                                                                                             Date of Imposition of Judgment


                                                                                             Signature of Judge

                                                                                             The Honorable Ricardo S. Martinez
                                                                                             Chief United States District Judge
                                                                                             Name and Title of Judge


    Sheet 1
                                                                                             Date




.
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AO245B                   (Rev. 09/19) Judgment in a Criminal Case
                         Sheet 2 — Imprisonment
                                                                                                                     Judgment — Page 2 of 9
DEFENDANT:                             PHILIP GILBERT
CASE NUMBER:                           2:19-CR-00213-RSM-1

Sheet 2 — Imprisonment
                                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:



 The court makes the following recommendations to the Bureau of Prisons:



 The defendant is remanded to the custody of the United States Marshal.
 The defendant shall surrender to the United States Marshal for this district:
  at                                              a.m.            p.m.   on                                          .
  as notified by the United States Marshal.
 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
  before 2 p.m. on                                                                   .
  as notified by the United States Marshal.
  as notified by the Probation or Pretrial Services Office.

                                                                              RETURN
I have executed this judgment as follows:




Defendant delivered on                                                                     to
at                                                         , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL

                                                                                  By
                                                                                                DEPUTY UNITED STATES MARSHAL
                                      Case 2:19-cr-00213-RSM Document 55 Filed 11/06/20 Page 3 of 9
AO245B                         (Rev. 09/19) Judgment in a Criminal Case
                               Sheet 3 — Supervised Release
                                                                                                            Judgment — Page 3 of 9
DEFENDANT:                                   PHILIP GILBERT
CASE NUMBER:                                 2:19-CR-00213-RSM-1

Sheet 3 — Supervised Release
                                                                          SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :


                                                                     MANDATORY CONDITIONS
1.  You must not commit another federal, state or local crime.
2.  You must not unlawfully possess a controlled substance.
3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days
    of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
          The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of
              future substance abuse. (check if applicable)
4.  You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
         of restitution. (check if applicable)
5.  You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.  You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C.
         § 20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
         agency in which you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.  You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached pages.
                                               Case 2:19-cr-00213-RSM Document 55 Filed 11/06/20 Page 4 of 9
 AO245B                                 (Rev. 09/19) Judgment in a Criminal Case
                                        Sheet 3A — Supervised Release
                                                                                                                                            Judgment — Page 4 of 9
 DEFENDANT:                                           PHILIP GILBERT
 CASE NUMBER:                                         2:19-CR-00213-RSM-1
                                                                STANDARD CONDITIONS OF SUPERVISION
 Sheet 3A — Supervised Release




 As part of your supervised release, you must comply with the following standard conditions of supervision. These
 conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
 the minimum tools needed by probation officers to keep informed, report to the court about, and bring about improvements
 in your conduct and condition.
 1.                              You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
                                 of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
                                 within a different time frame.
 2.                              After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
                                 how and when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.                              You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
                                 permission from the court or the probation officer.
 4.                              You must answer truthfully the questions asked by your probation officer.
 5.                              You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
                                 living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
                                 change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
                                 the probation officer within 72 hours of becoming aware of a change or expected change.
 6.                              You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
                                 probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.                              You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
                                 excuses you from doing so. If you do not have full-time employment you must try to find full-time employment, unless
                                 the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
                                 (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
                                 change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances,
                                 you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
 8.                              You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
                                 has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
                                 the permission of the probation officer.
 9.                              If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.                              You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
                                 anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person
                                 such as nunchakus or tasers).
11.                              You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
                                 informant without first getting the permission of the court.
12.                              If the probation officer determines that you pose a risk to another person (including an organization), the probation
                                 officer may require you to notify the person about the risk and you must comply with that instruction. The probation
                                 officer may contact the person and confirm that you have notified the person about the risk.
13.                              You must follow the instructions of the probation officer related to the conditions of supervision.




 U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy
 of this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation
 and Supervised Release Conditions, available at www.uscourts.gov.

 Defendant’s Signature                                                                                                  Date
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AO245B                          (Rev. 09/19) Judgment in a Criminal Case
                                Sheet 3D — Supervised Release
                                                                                                               Judgment — Page 5 of 9
DEFENDANT:                                    PHILIP GILBERT
CASE NUMBER:                                  2:19-CR-00213-RSM-1

Sheet 3D — Supervised Release
                                                          SPECIAL CONDITIONS OF SUPERVISION

           1. The defendant shall submit his or her person, property, house, residence, storage unit, vehicle, papers,
              computers (as defined in 18 U.S.C. §1030(e)(1)), other electronic communications or data storage
              devices or media, or office, to a search conducted by a United States probation officer, at a reasonable
              time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
              violation of a condition of supervision. Failure to submit to a search may be grounds for revocation. The
              defendant shall warn any other occupants that the premises may be subject to searches pursuant to this
              condition.

           2. The defendant, who is required to register under the Sex Offender Registration and Notification Act,
              must comply with all requirements of that Act. The defendant shall report the address where the
              defendant will reside and any subsequent change of residence to the probation officer responsible for
              supervision, and shall register as a sex offender in any jurisdiction where the person resides, is employed,
              or is a student. For initial registration purposes only, the defendant shall also register in the jurisdiction
              in which convicted if such jurisdiction is different from the jurisdiction of the residence. Registration
              must occur within three business days after sentencing if the defendant is sentenced to probation or time
              served, or a term of imprisonment and is not remanded. If the defendant is remanded, registration must
              occur within three business days of release.

           3. Restitution in the amount of $_______________ is due immediately. Any unpaid amount is to be paid
              during the period of supervision in monthly installments of not less than 10% of his or her gross monthly
              household income. Interest on the restitution shall be waived.

           4. The defendant shall not possess or peruse any authentic, altered, or manufactured, in whatever form,
              material that depicts and/or describes “sexually explicit conduct,” as defined in 18 U.S.C. §2256(2) or
              “child pornography,” as defined in 18 U.S.C. §2256(8).

           5. The defendant shall have no contact with any children under the age of 18, unless accompanied and
              supervised by an adult, who has been approved in advance by the sexual deviancy therapist and the
              supervising probation officer. The defendant shall immediately report any unauthorized contact with
              children to the probation officer and sexual deviancy therapist.

           6. The defendant’s residence shall be pre-approved by the probation office. The defendant shall not reside
              in direct view of places used primarily by minors, such as school yards, parks, public swimming pools,
              or recreational centers, playgrounds, youth centers, video arcade facilities, or other places primarily used
              by children under the age of 18.

           7. The defendant’s employment must be approved in advance by the probation officer. The defendant may
              not engage in any paid occupation or volunteer service that exposes him/her, either directly or indirectly,
              to minors, unless approved in advance by the probation officer.

           8. The defendant shall not go to places nor loiter within 100 feet of an area where minors are known to
              congregate, such as school yards, parks, public swimming pools, or recreational centers, playgrounds,
              youth centers, or other similar places, without the prior approval of the probation officer and the sexual
              deviancy therapist. The defendant shall not affiliate with, own, control, volunteer, and/or be employed,
                  Case 2:19-cr-00213-RSM Document 55 Filed 11/06/20 Page 6 of 9
AO245B     (Rev. 09/19) Judgment in a Criminal Case

                                                                                                    Judgment — Page 6 of 9
DEFENDANT:          PHILIP GILBERT
CASE NUMBER: 2:19-CR-00213-RSM-1
   in any capacity, by an organization in an activity, which would place him/her in contact with children
   under the age of 18.

 9. The defendant shall participate in a sexual deviancy evaluation conducted by a sexual deviancy treatment
    provider, as directed and approved by the U.S. Probation Officer. The treatment provider shall be trained
    and experienced in the treatment of sexual deviancy, and follow the guideline practices established by
    the Association for the Treatment of Sexual Abusers (ATSA). The sexual deviancy evaluation may
    include psychological and physiological testing, not to include plethysmograph. The defendant shall
    disclose all previous sex offender or mental health evaluations to the treatment provider. The defendant
    shall also contribute to the costs of the evaluation, according to his/her ability, as determined by the U.S.
    Probation Officer.

 10. The defendant shall actively participate and make reasonable progress in a certified sexual deviancy
     treatment program, as designated by the U.S. Probation Officer. The sexual deviancy treatment program
     shall follow the guideline practices established by the Association for the Treatment of Sexual Abusers
     (ATSA). The program shall offer individual and group sessions, and appropriate testing, to determine
     the defendant’s patterns of sexual arousal, and to monitor the defendant’s progress and compliance with
     treatment goals and conditions of supervision. The defendant shall disclose all previous sex offender or
     mental health evaluations to the treatment provider. The defendant shall also contribute to the costs of
     treatment, according to his/her ability, as determined by the U.S. Probation Officer.

 11. The defendant shall follow all rules, to include other lifestyle restrictions by the defendant’s therapist,
     and continue with those rules and restrictions as they pertain to avoiding risk situations throughout the
     course of the defendant’s supervision.

 12. The defendant shall be required to submit to periodic polygraph testing at the discretion of the probation
     office as a means to ensure that he or she is in compliance with the requirements of his or her supervision
     or treatment program. Polygraph testing may not exceed six tests per year.

 13. The defendant shall consent to the U.S. Probation Office conducting ongoing monitoring of his/her
     computer(s), hardware, and software, and any/and all electronic devices/media. The monitoring may
     include the installation, at the defendant’s expense, of hardware or software systems which allow
     evaluation of his/her computer use. Monitoring may also include the retrieval and copying of all data
     from his/her computer(s) or any/and all other electronic devices/media. The defendant shall also comply
     with the requirements of the U.S. Probation Computer Monitoring Program as directed.
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AO245B                                          (Rev. 09/19) Judgment in a Criminal Case
                                                Sheet 5 — Criminal Monetary Penalties
                                                                                                                                                      Judgment — Page 7 of 9
DEFENDANT:                                                    PHILIP GILBERT
CASE NUMBER:                                                  2:19-CR-00213-RSM-1
                                                                               CRIMINAL MONETARY PENALTIES
                                       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Sheet 5 — Criminal Monetary Penalties




                                                    Assessment                     Restitution          Fine                    AVAA Assessment*      JVTA Assessment**
TOTALS                                           $ 100                         $                            Waived                N/A                 N/A

                                       The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AO 245C)
                                        will be entered after such determination.
                                       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                                        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                                        otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
                                        victims must be paid before the United States is paid.

Name of Payee                                                                               Total Loss***             Restitution Ordered       Priority or Percentage
“Maureen Series”
in trust for Maureen
c/o DEBORAH A. BIANCO,
PO Box 6503
BELLEVUE, WASHINGTON                                                               $440,000+ Requesting
98008                                                                                          $10,000                            3,000.00

“Jenny Series”
c/o MARSH LAW FIRM PLLC
in trust for Jenny
MARSH LAW FIRM PLLCPO
BOX 4668 #65135                                                                 $3,776,306 Requesting
NEW YORK, NY 10163-4668                                                                     $3,000.00                             3,000.00



“Vicky Series”
in trust for Lily of the Vicky
Series
c/o CAROL HEPBURN, P.S.
PO Box 17718                                                                             $6,008,536.29
Seattle, WA 98127                                                                    Requesting $10,000                           3,000.00

“Cindy Series” in trust for Cindy
Cusack, Gilfillan & O’Day, LLC
415 Hamilton Blvd.                                                                        $1,668,232.47
Peoria, IL 61602                                                                       Requesting $8000                          $3,000.00
TOTALS                                                                                                           $

                                       Restitution amount ordered pursuant to plea agreement $
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AO245B       (Rev. 09/19) Judgment in a Criminal Case

                                                                                                                       Judgment — Page 8 of 9
DEFENDANT:                 PHILIP GILBERT
CASE NUMBER:               2:19-CR-00213-RSM-1
     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       the interest requirement is waived for the  fine               restitution
       the interest requirement for the  fine              restitution is modified as follows:

     The court finds the defendant is financially unable and is unlikely to become able to pay a fine and, accordingly, the imposition
      of a fine is waived.

  * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
    offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO245B                                 (Rev. 09/19) Judgment in a Criminal Case
                                       Sheet 6 — Schedule of Payments
                                                                                                                                             Judgment — Page 9 of 9
DEFENDANT:                                           PHILIP GILBERT
CASE NUMBER:                                         2:19-CR-00213-RSM-1

Sheet 6 — Schedule of Payments
                                                                              SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

                                PAYMENT IS DUE IMMEDIATELY. Any unpaid amount shall be paid to
                                 Clerk's Office, United States District Court, 700 Stewart Street, Seattle, WA 98101.

                                 During the period of imprisonment, no less than 25% of their inmate gross monthly income or $25.00 per quarter,
                                       whichever is greater, to be collected and disbursed in accordance with the Inmate Financial Responsibility Program.

                                 During the period of supervised release, in monthly installments amounting to not less than 10% of the defendant's gross
                                       monthly household income, to commence 30 days after release from imprisonment.

                                 During the period of probation, in monthly installments amounting to not less than 10% of the defendant's gross monthly
                                       household income, to commence 30 days after the date of this judgment.

                                 The payment schedule above is the minimum amount that the defendant is expected to pay towards the monetary
                                 penalties imposed by the Court. The defendant shall pay more than the amount established whenever possible. The
                                 defendant must notify the Court, the United States Probation Office, and the United States Attorney's Office of any
                                 material change in the defendant's financial circumstances that might affect the ability to pay restitution.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program are made to the United States District Court,
Western District of Washington. For restitution payments, the Clerk of the Court is to forward money received to the
party(ies) designated to receive restitution specified on the Criminal Monetaries (Sheet 5) page.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 Joint and Several

                                 Case Number
                                 Defendant and Co-Defendant Names                                               Joint and Several       Corresponding Payee,
              (including defendant number)                                             Total Amount                 Amount                 if appropriate



 The defendant shall pay the cost of prosecution.

 The defendant shall pay the following court cost(s):

 The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
